Dear Mr. Patin:
You ask us to advise you regarding your entitlement to the statutory seven percent certification pay allowed assessors pursuant to R.S.47:1907.1 You were a chief deputy assessor who assumed the duties of the previous assessor because of a vacancy in the office.2
A person "designated to assume the duties of the office shall receive the salary and other emoluments of the vacated office until a successor is elected and takes office."  See R.S. 18:603.3 Thus, you are entitled to the seven percent increase, assuming you have met all other requirements of R.S. 47:1907.
Should you have other questions in which we may provide assistance, please contact this office.
Very truly yours,
                             RICHARD P. IEYOUB ATTORNEY GENERAL
                             BY: __________________________ KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL
KLK:ams
Date Released: December 5, 2002
1 R.S. 47:1907 establishes an assessors' professional certification program.  Upon completion of this educational program, and approval by the governing certification committee, an assessor is entitled to a seven percent increase in compensation to his annual salary.  R.S. 47:1907
provides in pertinent part:
C. The assessors' professional certification program is hereby established to formalize and recognize the professional standards of assessors engaged in the assessment of property for ad valorem taxation purposes in this state. It is the objective of the program to insure compliance with the requirements of the constitution and laws of the state governing the assessment of property and to assure the citizens and taxpayers of the state that property will be assessed fairly and equitably.
D. (1) The requisite education and training will be provided through courses at state institutions of higher education or other appropriate locations in conjunction with the International Association of Assessing Officers (IAAO) or the Appraisal Institute with additional seminars and workshops being conducted at various locations throughout the state or other appropriate locations. All such instruction shall be offered and directed towards the attainment of the certification and recertification described herein.
(2) For the purposes of this Section, "certified Louisiana assessor" (CLA) shall be a person holding the office of assessor in this state at the time of certification.
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F. (1) The educational requirements for certification shall be as follows:
(a) A passing grade on the examination for the International Association of Assessing Officers course 1 — Fundamentals of Real Property Appraisal.
(b) A passing grade on the examination for the International Association of Assessing Officers course 2 — Income Approach to Valuation or equivalent courses offered by the Appraisal Institute.
(c) A passing grade on the examinations or other evidence of successful completion of two electives equal to or greater than sixty course hours among the courses offered by the International Association of Assessing Officers or the Appraisal Institute.
(2) The experience requirements for certification shall be met upon the assessor's election by a majority of the voters voting in an election called therefor.
G. (1) Recertification shall be obtained by completing either of the following requirements:
(a) A minimum of forty-five hours of continuing education offered by the International Association of Assessing Officers or the Appraisal Institute, which shall include at least one course, thirty hours minimum, on appraisal of property completed by passing a written examination. The remaining fifteen hours shall be selected from recertification guidelines as adopted by the certification committee. All designees shall obtain recertification within a five-year period.
(b) A minimum of sixty hours of continuing education offered by the International Association of Assessing Officers or the Appraisal Institute, which shall include at least one course, thirty hours minimum, on appraisal of property, for which no written examination shall be required. The remaining thirty hours shall be selected from recertification guidelines as adopted by the certification committee. All designees shall obtain recertification within a five-year period.
(2) Recertification requirements shall be met prior to December thirty-first of the fifth year. If these requirements are not met, the designee will lose certification and certification compensation until recertification requirements are met. After using a specific course toward recertification, the designee shall not be permitted to use the same course again toward recertification for one five-year period. Hours shall not be carried forward from one five-year period to another. If the designee teaches courses for the International Association of Assessing Officers or the Appraisal Institute, the designee shall receive credit for those hours.
H. (1) Notwithstanding any other provisions of law to the contrary, after documents showing the successful completion of the program, resulting in certification as a certified Louisiana assessor (CLA), have been submitted to and approved by the certification committee and said approval documented to the legislative auditor, the assessor shall be recognized through the implementation of a one-time increase in compensation paying additional compensation equal to seven percent of the assessor's annual salary as set forth in Subsection A of this Section.
(2) Any assessor who has completed the educational and experience requirements as provided in Subsection F of this Section, and the documents showing the successful completion of the program have been submitted to and approved by the certification committee and said approval documented to the legislative auditor, shall be granted the seven-percent increase in compensation to his annual salary as set forth in Subsection A of this Section. Assessors shall complete the requirements of Subsection G of this Section, within five years and every five years thereafter in order to retain the seven-percent compensation enhancement, notwithstanding any other provisions of law to the contrary.
(3) If an assessor does not complete the certification program as provided for in this Section, or if after certification an assessor does not receive recertification within each five year period, his salary shall revert back to the salary scale provided for in Subsection A of this Section.
2 Art. VII, § 24, of the Louisiana Constitution of 1974 pertinently provides:
(A) A tax assessor shall be elected by the electors of each parish, Orleans Parish excepted. His term of office shall be four years. His election, duties, and compensation shall be as provided by law.
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(C) When a vacancy occurs in the office of the assessor, the duties of the office, until filled by election as provided by law, shall be assumed by the chief deputy assessor, except in Orleans Parish . . .
3 R.S. 18:603 provides:
When a vacancy occurs in an office covered by R.S. 18:602(C), the person designated to assume the duties of the office shall receive the salary and other emoluments of the vacated office until a successor is elected and takes office. A person designated to assume the duties of an office shall take the oath of office and file any bond required for the vacated office. The person who assumes the duties of an office may appoint a person to perform the duties of the office or position he formerly held and the person so appointed shall receive the salary and other emoluments of that office of position.